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                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION

 JAMES M. ASSEY AND JOAN P.                  )
 ASSEY                                       ) Civil Action No. 3:22-cv-02647-JDA
                                             )
                               Plaintiffs,   )
                                             )
        vs.                                  )      PLAINTIFFS’ OBJECTIONS TO
                                             )       DEFENDANT’S RULE 26(a)(3)
 AMERICAN HONDA MOTOR CO.,                   )         PRETRIAL DISCLOSURES
 INC.                                        )
                                             )
                               Defendant.    )
                                             )
                                             )
                                             )
                                             )


       Plaintiffs James M. Assey and Joan P. Assey (collectively “Plaintiffs”), by and through the

undersigned counsel, object to the admissibility of the materials from American Honda Motor Co.,

Inc. (“AHM”) as indicated in the below table for the reasons detailed below.

 Deponent / Exhibit Objectionable Lines / Bates     Comments
                    Numbers
 D6 (a, c, and d)   SCHP 000001-000013              FRE 801
                    SCHP 000192-000200
                    SCHP 000201-000202
 D7                 SCDPS911          000001-       FRE 801
                    000022
 D8                 Irmo Fire Dept 000001           FRE 801
 D9                 Lexington EMS 000001-           FRE 801

                      000008

 D10, D11             Allstate 000001-000014; These exhibits involve auto insurance for the
                      Liberty Mutal Insurance parties involved and insurance for parties outside
                      000001-000771           this litigation. Evidence that a person was or was
                                              not insured is not admissible.
 D12, D13                                     Objection; as to irrelevant hearsay portions
                                              regarding speeds pending the Court’s ruling on
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 Deponent / Exhibit Objectionable Lines / Bates Comments
                    Numbers
                                                Plaintiffs’ Motion in Limine as regards
                                                admissibility of speeds. FRE 801.
 D18, D19           Midlands 001-009;           FRE 801
                    PhilHughes 001-055
 D171-174                                       Objection to the extent any of these exhibits have
                                                not been produced to Plaintiffs. Plaintiffs request
                                                these exhibits be produced for review and
                                                consideration prior to their use at trial.
 D179                                           FRE 401-403
 D183-184                                       Objection to the extent any of these exhibits have
                                                not been produced to Plaintiffs. Plaintiffs request
                                                these exhibits be produced for review and
                                                consideration prior to their use at trial.
 D187-196                                       Objection to the extent any of these exhibits have
                                                not been produced to Plaintiffs. Plaintiffs request
                                                these exhibits be produced for review and
                                                consideration prior to their use at trial;
                                                D194 contains ID only articles and papers and as
                                                such are inadmissible.
                                                D196 is a deposition transcript and as such is
                                                inadmissible.
 D199-208                                       Objection to the extent any of these exhibits have
                                                not been produced to Plaintiffs. Plaintiffs request
                                                these exhibits be produced for review and
                                                consideration prior to their use at trial.
                                                D208 contains ID only articles and papers and as
                                                such are inadmissible.
 D263-265                                       Objection to the extent any of these exhibits have
                                                not been produced to Plaintiffs. Plaintiffs request
                                                these exhibits be produced for review and
                                                consideration prior to their use at trial.
 D274                                           Objection to the extent any slide contains material
                                                not already reviewed or inspected as part of pre-
                                                trial exchanges.
 Corey Kracht                                   No objections; No Counter Designations
 deposition
 designations


                                           Exhibits

       The exhibits listed in the table above which AHM has listed as trial exhibits are

inadmissible as evidence and exhibits for the reasons stated above and because the documents are



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otherwise improper, cumulative or irrelevant to any issue to be tried in this case. Notwithstanding

the referenced objections, Plaintiffs expressly reserve the right to object to any exhibit on grounds

of relevance under Fed. R. Evid. 402 or 403 at the appropriate time. Further, Plaintiffs’ objections

for all of Defendant’s exhibits are subject to amendment at any time upon discovery that an exhibit

Defendant intends to offer does not match the document upon which Plaintiffs has asserted their

objection. For documents identified on Defendant’s exhibit list that are not presently in Plaintiffs’

possession, Plaintiffs object to such exhibits upon all available groups for exclusion, until such

time as a copy of such exhibits have been provided to Plaintiffs.1 Lastly, Plaintiffs object to the

numerous exhibits entries that do not properly identify individual exhibits but multiple, separate

documents that should be identified separately.




                                     [Signature page to follow]




1
  Defendant states in their pre-trial disclosures that they reserve the right to use and offer into
evidence English translations of any document listed that was produced in Japanese language [Dkt.
No. 143, fn. 1, p. 6]. Plaintiffs object to the introduction of any English translation, which must be
a certified translation, before Plaintiffs have a chance to review the translation and corroborate its
authenticity.



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Respectfully submitted,


                                         By:    s/ Kevin R. Dean_________________
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Mount Pleasant, South Carolina
Dated: April 23, 2025




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